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    In the United States Court of Federal Claims
                                   OFFICE OF SPECIAL MASTERS
                                           No. 20-1730V
                                          UNPUBLISHED


    STEVEN ROTHENBERG,                                          Chief Special Master Corcoran

                         Petitioner,                            Filed: February 21, 2023
    v.
                                                                Special Processing Unit (SPU);
    SECRETARY OF HEALTH AND                                     Damages Decision Based on Proffer;
    HUMAN SERVICES,                                             Influenza (Flu) Vaccine; Shoulder
                                                                Injury Related to Vaccine
                         Respondent.                            Administration (SIRVA)


Ronald Craig Homer, Conway, Homer, P.C., Boston, MA, for Petitioner.

Benjamin Patrick Warder, U.S. Department of Justice, Washington, DC, for
Respondent.


                                 DECISION AWARDING DAMAGES 1

      On December 2, 2020, Steven Rothenberg filed a petition for compensation under
the National Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10, et seq. 2 (the
“Vaccine Act”). Petitioner alleges that he suffered a shoulder injury related to vaccine
administration (“SIRVA”) caused by an influenza vaccine administered on October 7,
2019. Petition at 1. The case was assigned to the Special Processing Unit of the Office
of Special Masters.

        On December 16, 2022, a ruling on entitlement was issued, finding Petitioner
entitled to compensation for a SIRVA. On February 16, 2023, Respondent filed a proffer
on award of compensation (“Proffer”) indicating Petitioner should be awarded $60,681.62
(comprised of $60,000.00 for pain and suffering, $625.00 for past out-of-pocket expenses,

1
   Because this unpublished Decision contains a reasoned explanation for the action in this case, I am
required to post it on the United States Court of Federal Claims' website in accordance with the E-
Government Act of 2002. 44 U.S.C. § 3501 note (2012) (Federal Management and Promotion of Electronic
Government Services). This means the Decision will be available to anyone with access to the
internet. In accordance with Vaccine Rule 18(b), Petitioner has 14 days to identify and move to redact
medical or other information, the disclosure of which would constitute an unwarranted invasion of privacy.
If, upon review, I agree that the identified material fits within this definition, I will redact such material from
public access.
2
 National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for ease
of citation, all section references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. §
300aa (2012).
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and $56.62 for past mileage). Proffer at 2. In the Proffer, Respondent represented that
Petitioner agrees with the proffered award. Id. Based on the record as a whole, I find that
Petitioner is entitled to an award as stated in the Proffer.

       Pursuant to the terms stated in the attached Proffer, I award Petitioner a lump
sum payment of $60,681.62 (comprised of $60,000.00 for pain and suffering,
$625.00 for past out-of-pocket expenses, and $56.62 for past mileage) in the form
of a check payable to Petitioner. This amount represents compensation for all damages
that would be available under Section 15(a).

       The Clerk of Court is directed to enter judgment in accordance with this decision. 3

       IT IS SO ORDERED.

                                                                 s/Brian H. Corcoran
                                                                 Brian H. Corcoran
                                                                 Chief Special Master




3
  Pursuant to Vaccine Rule 11(a), entry of judgment can be expedited by the parties’ joint filing of notice
renouncing the right to seek review.


                                                    2
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              IN THE UNITED STATES COURT OF FEDERAL CLAIMS
                        OFFICE OF SPECIAL MASTERS
__________________________________________
                                           )
STEVEN ROTHENBERG,                         )
                                           )
      Petitioner,                          )
                                           ) No. 20-1730V (ECF)
v.                                         ) Chief Special Master Corcoran
                                           )
SECRETARY OF HEALTH                        )
AND HUMAN SERVICES,                        )
                                           )
      Respondent.                          )
__________________________________________)

             RESPONDENT’S PROFFER ON AWARD OF COMPENSATION

       On December 2, 2020, Steven Rothenberg (“petitioner”) filed a petition for compensation

(ECF No. 1) under the National Childhood Vaccine Injury Act of 1986, 42 U.S.C. §§ 300aa-1 to

-34 (“Vaccine Act”), alleging that he suffered a Shoulder Injury Related to Vaccine

Administration (“SIRVA”), as defined in the Vaccine Injury Table, following administration of

an influenza vaccine that he received on October 7, 2019. ECF No. 1 at 1. On December 28,

2021, petitioner filed an amended petition for compensation (ECF No. 31). The amended

petition provided an expanded set of facts based on petitioner’s medical records, but it did not

contain any changes to the legal allegations made in this case. ECF No. 31 at 1. On December

16, 2022, the Secretary of Health and Human Services (“respondent”) filed a Rule 4(c) report

(ECF No. 39) indicating that this case was appropriate for compensation under the terms of the

Vaccine Act for a SIRVA Table injury. Also on December 16, 2022, the Chief Special Master

issued a Ruling on Entitlement (ECF No. 40) finding that petitioner was entitled to

compensation.
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I.     Items of Compensation

       A.       Pain and Suffering

       Respondent proffers that petitioner should be awarded $60,000.00 in pain and suffering.

See 42 U.S.C. § 300aa-15(a)(4). Petitioner agrees.

       B.       Past Unreimbursable Expenses

       Evidence supplied by petitioner documents that he incurred past unreimbursable expenses

pertaining to his vaccine-related injury. Respondent proffers that petitioner should be awarded

past unreimbursable expenses in the total amount of $681.62 ($625.00 for past out-of-pocket

expenses and $56.62 for past mileage). See 42 U.S.C. § 300aa-15(a)(1)(B). Petitioner agrees.

       These amounts represent all elements of compensation to which petitioner is entitled

under 42 U.S.C. § 300aa-15(a). Petitioner agrees.

II.    Form of the Award

       Petitioner is a competent adult. Evidence of guardianship is not required in this case.

Respondent recommends that the compensation provided to petitioner should be made through a

lump sum payment as described below and requests that the Chief Special Master’s decision and

the Court’s judgment award the following:1 a lump sum payment of $60,681.62, in the form of a

check payable to petitioner.

III.   Summary of Recommended Payment Following Judgment

       Lump sum payable to petitioner, Steven Rothenberg:           $60,681.62




1
  Should petitioner die prior to entry of judgment, the parties reserve the right to move the Court
for appropriate relief. In particular, respondent would oppose any award for future lost earnings
and future pain and suffering.
                                                 2
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                                         Respectfully submitted,

                                         BRIAN M. BOYNTON
                                         Principal Deputy Assistant Attorney General

                                         C. SALVATORE D’ALESSIO
                                         Director
                                         Torts Branch, Civil Division

                                         HEATHER L. PEARLMAN
                                         Deputy Director
                                         Torts Branch, Civil Division

                                         DARRYL R. WISHARD
                                         Assistant Director
                                         Torts Branch, Civil Division

                                         /s/ Benjamin P. Warder
                                         BENJAMIN P. WARDER
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Date: February 16, 2023




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